Case 1:17-cv-00191-JJM-LDA Document 47 Filed 11/19/18 Page 1 of 2 PageID #: 1023



                          UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF RHODE ISLAND

                                           )
 JOHN DOE,                                 )
     Plaintiff,                            )
                                           )
       v.                                  )         C.A. No. 17'191-JJM·LDA
                                           )
 BROWN UNIVERSITY,                         )
    Defendant.                             )
 --~~~~~-------------)

                                        ORDER

        Defendant Brown University seeks an order requiring Plaintiff to Proceed

 Under His Real Name. ECF No. 36. In his objection to the motion, Plaintiff recasts

 this as a motion to reconsider. ECF No. 43.

        Almost a year ago, this Court granted Plaintiffs Motion to Proceed under

 Pseudonym (ECF No. 16) after Brown took no position on the motion. Brown now

 asks this Court to revisit that ruling. The main thrust of Brown's motion is that

 Plaintiff is no longer a student at Brown, and that he has publicized on social media

 his status as a Brown graduate. All other facts remain as they were when the Court

 granted Plaintiffs motion.

       The First Circuit has been consistent in its admonition that courts are to grant

 motions for reconsideration in only extreme circumstances and only where specific

 factors are present.

       The     granting    of   a     motion     for    reconsideration   is
       "an extraordinary remedy which should be used sparingly." Palmer v.
       Champion Mol'tg., 465 F.3d 24, 30 (1st Cir. 2006) (quoting 11 Charles
       Alan Wright et al., Federal Practice and Procedure § 2810.1 (2cl eel.
  Case 1:17-cv-00191-JJM-LDA Document 47 Filed 11/19/18 Page 2 of 2 PageID #: 1024



          1995)). The moving party "must 'either clearly establish a manifest error
          of law or must present newly discovered evidence."' Ma1ie v. Allied
          HomeMo1·tg. C01p., 402 F.3d 1, 7 n.2 (1st Cir. 2005) (quoting Pomerleau
          v. W. Splingfield Pub. Sch., 362 F.3d 143, 146 n.2 (1st Cir. 2004)).

   Fabrica de Muebles J.J. Alvarez, hw01porado v. Inversiones Mendoza, hw., 682 F.3d

   26, 31 (1st Cir. 2012). Brown has failed to show either a manifest error of law or

   newly discovered evidence.

          Although Brown points to the fact that Plaintiff is no longer a student, it fails

   to articulate why this factor changes the calculus. That Plaintiff was a current

   student was not why the Court granted the motion. And it was not a stated reason

   Brown did not oppose the motion. Plaintiffs assertion of a social stigma from being

   identified as a perpetrator of sexual crimes that he claims he did not commit, remains

   no matter if he is a student. 1

         The Court DENIES the Defendant's Motion to Require Plaintiff to Proceed

   Under His Real Name. ECF No. 36.



_:_i;tn;JJA
   John J. McConnell, Jr.
                            I
   United States District Judge

   November 19, 2018




         1  Brown also argues as a reason to revisit this issue, that Plaintiff is only
   seeking monetary damages and is no longer seeking injunction relief. Plaintiff points
   out, however, that he continues to seek injunctive relief. ("An expungement of all
   records in John's academic file in connection with Title IX 1 and Title IX 2." ECF No.
   43·1 at 3.)

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